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JAMES MURPHY, ON BEHALF OF HIMSELF
AND ALL OTHER PERSONS SIMILARLY
SITUATED,
                                                  No. 1:24-cv-05194




ATHLETIC GREENS (USA), INC.,




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         7/10/2024                                            s/ G. Pisarczyk
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